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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      CENTRAL DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                No. 4:19-cr-151-DPM

SAIWON BROWN                                                                     DEFENDANT

                   SENTENCING SCHEDULING ORDER

     Sentencing is set for 17 January 2023 at 1:30 in Courtroom 1A. So
the Court and all parties can prepare for the hearing, the Court sets the
following schedule.


$    Final PSR, including responses to objections,
     circulated................................................................................ Received

$    Motions to depart or vary and sentencing
     memoranda filed ................................................... 28 December 2022

$    Joint notice by filing about witnesses,
     estimated hearing length, likelihood of third
     point, and applicability of safety valve, and
     any other case-specific issue that the Court
     needs to prepare for.................................................... 4 January 2023

$    Responses to any departure or variance motions
     and responding memoranda filed ............................ 4 January 2023

     If any of these deadlines is not met, then the sentencing will be
continued absent extraordinary circumstances.
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      So Ordered.




                                         D.P. Marshall Jr
                                         United States District Judge

                                         29 November 2022




July 2018                    -2-
